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UNITED STATES OF AMERICA,                   CASE NO. 12CR0522-JLS

                      Plaintiff,
               vs.                          JUDGMENT OF DISMJ:SSAL
MICHAEL REYNOSO,

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) as charged in the Superseding Information:

     8 USC 1324 (a) (1) (A) (ii) and (v) (II) - Transportation of Illegal

    Aliens and Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 2/28/13
                                            William McCurine   r.
                                            U.S. Magistrate Judge
